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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                           TALLAHASSEE DIVISION

ARTHUR BIRINGER

      VS                                               CASE NO. 4:14-cv-566-RH-CAS

FIRST FAMILY INSURANCE, INC. and
JASON MARRA

                                      JUDGMENT

      The parties, including all class members, are ordered to comply with their

settlement agreement. The named plaintiff and all class members are enjoined from

initiating or pursuing any claim that has been released under the settlement agreement.

The court reserves jurisdiction to enforce the order to comply with the settlement

agreement and not to initiate or pursue any claim that has been released under the

settlement agreement. All claims in this case are voluntarily dismissed with prejudice

under Federal Rule of Civil Procedure 41.

                                         JESSICA J. LYUBLANOVITS
                                         CLERK OF COURT


April 24, 2017                           s/ Chip Epperson
DATE                                     Deputy Clerk: Chip Epperson
